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                                  IN THE UNITED STATES DISTRICT COURT
                                 FOR THE SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 19-61467-CIV-DIMITROULEAS/SNOW

       JOSIE WILLIAMS, individually and on behalf of all                         CLASS ACTION
       others similarly situated,

             Plaintiff,                                                    JURY TRIAL DEMANDED

       vs.

       CGCG REAL ESTATE, LLC,
       d/b/a KELLER WILLIAMS CORAL GABLES-
       COCONUT GROVE, a Florida limited liability
       company,

         Defendant.
       ______________________________________/

                                   AMENDED CLASS ACTION COMPLAINT1

                 Plaintiff, Josie Williams (“Plaintiff”), brings this action against Defendant, CGCG Real

   Estate, LLC (“Defendant”), to secure redress for violations of the Telephone Consumer Protection

   Act (“TCPA”), 47 U.S.C. § 227.

                                             NATURE OF THE ACTION

                 1.       This is a putative class action pursuant to the Telephone Consumer Protection Act, 47

   U.S.C. § 227 et seq., (the “TCPA”).

                 2.       Defendant is a Florida real estate franchise. To promote its services, Defendant engages

   in unsolicited marketing, harming thousands of consumers in the process.



   1
     Pursuant to Fed. R. Civ. P. 15(a)(1), Plaintiff hereby amends her Class Action Complaint [ECF
   No. 1] as a matter of course, thereby mooting Defendant’s pending Motion to Dismiss for Failure
   to State a Claim [ECF No. 13].
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           3.      Through this action, Plaintiff seeks injunctive relief to halt Defendant’s illegal conduct,

   which has resulted in the invasion of privacy, harassment, aggravation, and disruption of the daily life

   of thousands of individuals. Plaintiff also seeks statutory damages on behalf of herself and members of

   the class, and any other available legal or equitable remedies.

                                       JURISDICTION AND VENUE

           4.      Jurisdiction is proper under 28 U.S.C. § 1331 as Plaintiff alleges violations of a federal

   statute. Jurisdiction is also proper under 28 U.S.C. § 1332(d)(2) because Plaintiff alleges a national class,

   which will result in at least one class member belonging to a different state than that of Defendant.

   Plaintiff seeks up to $1,500.00 (one-thousand-five-hundred dollars) in damages for each call in violation

   of the TCPA, which, when aggregated among a proposed class numbering in the tens of thousands, or

   more, exceeds the $5,000,000.00 (five-million dollars) threshold for federal court jurisdiction under the

   Class Action Fairness Act (“CAFA”). Therefore, both the elements of diversity jurisdiction and CAFA

   jurisdiction are present.

           5.      Venue is proper in the United States District Court for the Southern District of Florida

   pursuant to 28 U.S.C. § 1391(b) and (c) because Defendant is deemed to reside in any judicial district

   in which it is subject to the court’s personal jurisdiction, and because Defendant provides and markets

   its services within this district thereby establishing sufficient contacts to subject it to personal

   jurisdiction. Further, Defendant’s tortious conduct against Plaintiff occurred within the State of Florida

   and, on information and belief, Defendant has sent the same text message complained of by Plaintiff to

   other individuals within this judicial district, such that some of Defendant’s acts in making such calls

   have occurred within this district, subjecting Defendant to jurisdiction in the State of Florida.

                                                   PARTIES

           6.      Plaintiff is a natural person who, at all times relevant to this action, was a resident of




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   Broward County, Florida.

             7.    Defendant is a Florida limited liability company whose principal office is located at 550

   Biltmore Way, PH 2 A&B, Coral Gables, Florida 33134. Defendant directs, markets, and provides its

   business activities throughout the State of Florida.

                                                 THE TCPA

             8.    The TCPA prohibits: (1) any person from calling a cellular telephone number; (2) using

   an automatic telephone dialing system; (3) without the recipient’s prior express consent. 47 U.S.C. §

   227(b)(1)(A).

             9.    The TCPA defines an “automatic telephone dialing system” (“ATDS”) as “equipment

   that has the capacity - (A) to store or produce telephone numbers to be called, using a random or

   sequential number generator; and (B) to dial such numbers.” 47 U.S.C. § 227(a)(1).

             10.   In an action under the TCPA, a plaintiff must only show that the defendant “called a

   number assigned to a cellular telephone service using an automatic dialing system or prerecorded

   voice.” Breslow v. Wells Fargo Bank, N.A., 857 F. Supp. 2d 1316, 1319 (S.D. Fla. 2012), aff'd, 755

   F.3d 1265 (11th Cir. 2014).

             11.   The Federal Communications Commission (“FCC”) is empowered to issue rules and

   regulations implementing the TCPA. According to the FCC’s findings, calls in violation of the TCPA

   are prohibited because, as Congress found, automated or prerecorded telephone calls are a greater

   nuisance and invasion of privacy than live solicitation calls, and such calls can be costly and

   inconvenient. The FCC also recognized that wireless customers are charged for incoming calls whether

   they pay in advance or after the minutes are used. Rules and Regulations Implementing the Telephone

   Consumer Protection Act of 1991, CG Docket No. 02-278, Report and Order, 18 FCC Rcd 14014

   (2003).




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           12.     In 2012, the FCC issued an order tightening the restrictions for automated telemarketing

   calls, requiring “prior express written consent” for such calls to wireless numbers. See In the Matter of

   Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C.R. 1830, 1838 ¶ 20

   (Feb. 15, 2012) (emphasis supplied).

           13.     To obtain express written consent for telemarketing calls, a defendant must establish

   that it secured the plaintiff’s signature in a form that gives the plaintiff a “‘clear and conspicuous

   disclosure’ of the consequences of providing the requested consent….and having received this

   information, agrees unambiguously to receive such calls at a telephone number the [plaintiff]

   designates.” In re Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C.R.

   1830, 1837 ¶ 18, 1838 ¶ 20, 1844 ¶ 33, 1857 ¶ 66, 1858 ¶ 71 (F.C.C. Feb. 15, 2012).

           14.     The TCPA regulations promulgated by the FCC define “telemarketing” as “the

   initiation of a telephone call or message for the purpose of encouraging the purchase or rental of, or

   investment in, property, goods, or services.” 47 C.F.R. § 64.1200(f)(12). In determining whether a

   communication constitutes telemarketing, a court must evaluate the ultimate purpose of the

   communication. See Golan v. Veritas Entm't, LLC, 788 F.3d 814, 820 (8th Cir. 2015).

           15.     “Neither the TCPA nor its implementing regulations ‘require an explicit mention of a

   good, product, or service’ where the implication of an improper purpose is ‘clear from the context.’”

   Id. (citing Chesbro v. Best Buy Stores, L.P., 705 F.3d 913, 918 (9th Cir. 2012)).

           16.     “‘Telemarketing’ occurs when the context of a call indicates that it was initiated and

   transmitted to a person for the purpose of promoting property, goods, or services.” Golan, 788 F.3d at

   820 (citing 47 C.F.R. § 64.1200(a)(2)(iii); 47 C.F.R. § 64.1200(f)(12); In re Rules and Regulations

   Implementing the Telephone Consumer Protection Act of 1991, 18 F.C.C. Rcd at 14098 ¶ 141, 2003

   WL 21517853, at *49).




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             17.   The FCC has explained that calls motivated in part by the intent to sell property, goods,

   or services are considered telemarketing under the TCPA.            See In re Rules and Regulations

   Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd. 14014, ¶¶ 139-142 (2003).

   This is true whether call recipients are encouraged to purchase, rent, or invest in property, goods, or

   services during the call or in the future. Id.

             18.   In other words, offers “that are part of an overall marketing campaign to sell

   property, goods, or services constitute” telemarketing under the TCPA. See In re Rules and

   Regulations Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd. 14014, ¶ 136

   (2003).

             19.   If a call is not deemed telemarketing, a defendant must nevertheless demonstrate that it

   obtained the plaintiff’s prior express consent. See In the Matter of Rules and Regulaions Implementing

   the Tel. Consumer Prot. Act of 1991, 30 FCC Rcd. 7961, 7991-92 (2015) (requiring express consent

   “for non-telemarketing and non-advertising calls”).

             20.   Further, the FCC has issued rulings and clarified that consumers are entitled to the same

   consent-based protections for text messages as they are for calls to wireless numbers. See Satterfield v.

   Simon & Schuster, Inc., 569 F.3d 946, 952 (9th Cir. 2009) (The FCC has determined that a text message

   falls within the meaning of “to make any call” in 47 U.S.C. § 227(b)(1)(A)); Toney v. Quality Res., Inc.,

   2014 WL 6757978, at *3 (N.D. Ill. Dec. 1, 2014) (Defendant bears the burden of showing that it

   obtained Plaintiff's prior express consent before sending her the text message). (emphasis added).

             21.   As recently held by the United States Court of Appeals for the Ninth Circuit:

   “Unsolicited telemarketing phone calls or text messages, by their nature, invade the privacy and disturb

   the solitude of their recipients. A plaintiff alleging a violation under the TCPA ‘need not allege any

   additional harm beyond the one Congress has identified.’” Van Patten v. Vertical Fitness Grp., No.




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   14-55980, 2017 U.S. App. LEXIS 1591, at *12 (9th Cir. May 4, 2016) (quoting Spokeo, Inc. v.

   Robins, 136 S. Ct. 1540, 1549 (2016) (emphasis original)).

                                                    FACTS

           22.     On or about April 10, 2019, Defendant sent the following telemarketing text message

   to Plaintiff’s cellular telephone number ending in 0890 (the “0890 Number”):




           23.     Defendant’s text message was transmitted to Plaintiff’s cellular telephone, and within

   the time frame relevant to this action.

           24.     Defendant’s text message constitutes telemarketing because it encourages the future

   purchase or investment in property, goods, or services, i.e., selling Plaintiff’s property.

           25.     The information contained in the text message asks Plaintiff if she is “looking to sell

   your property in the Miami area?” which Defendant sends to promote its business.

           26.     Plaintiff received the subject text within this judicial district and, therefore, Defendant’s


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   violation of the TCPA occurred within this district. Upon information and belief, Defendant caused

   other text messages to be sent to individuals residing within this judicial district.

           27.     At no point in time did Plaintiff provide Defendant with her express written consent to

   be contacted using an ATDS.

           28.     Plaintiff is the subscriber and sole user of the 0890 Number, and is financially

   responsible for phone service to the 0890 Number.

           29.     The impersonal and generic nature of Defendant’s text message demonstrates that

   Defendant utilized an ATDS in transmitting the message. See Jenkins v. LL Atlanta, LLC, No. 1:14-

   cv-2791-WSD, 2016 U.S. Dist. LEXIS 30051, at *11 (N.D. Ga. Mar. 9, 2016) (“These assertions,

   combined with the generic, impersonal nature of the text message advertisements and the use of a short

   code, support an inference that the text message was sent using an ATDS.”) (citing Legg v. Voice Media

   Grp., Inc., 20 F. Supp. 3d 1370, 1354 (S.D. Fla. 2014) (plaintiff alleged facts sufficient to infer text

   messages were sent using ATDS; use of a short code and volume of mass messaging alleged would be

   impractical without use of an ATDS); Kramer v. Autobytel, Inc., 759 F. Supp. 2d 1165, 1171 (N.D. Cal.

   2010) (finding it "plausible" that defendants used an ATDS where messages were advertisements

   written in an impersonal manner and sent from short code); Hickey v. Voxernet LLC, 887 F. Supp. 2d

   1125, 1130; Robbins v. Coca-Cola Co., No. 13-CV-132-IEG NLS, 2013 U.S. Dist. LEXIS 72725, 2013

   WL 2252646, at *3 (S.D. Cal. May 22, 2013) (observing that mass messaging would be impracticable

   without use of an ATDS)).

           30.     The text message originated from telephone number 312-275-3427, a number which

   upon information and belief is owned and operated by Defendant.

           31.     The number used by Defendant (312) 275-3427) is known as a “long code,” a standard

   10-digit phone number that enabled Defendant to send the SMS text message en masse, while deceiving




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   recipients into believing that the message was personalized and sent from a telephone number operated

   by an individual.

          32.     Long codes work as follows: Private companies known as SMS gateway providers

   have contractual arrangements with mobile carriers to transmit two-way SMS traffic. These SMS

   gateway providers send and receive SMS traffic to and from the mobile phone networks' SMS centers,

   which are responsible for relaying those messages to the intended mobile phone. This allows for the

   transmission of a large number of SMS messages to and from a long code.

          33.     To send the text message, Defendant used a messaging platform (the “Platform”) that

   permitted Defendant to transmit thousands of automated text messages without any human

   involvement.

          34.     The Platform has the capacity to store telephone numbers, which capacity was in

   fact utilized by Defendant.

          35.     The Platform has the capacity to generate sequential numbers, which capacity was

   in fact utilized by Defendant.

          36.     The Platform has the capacity to dial numbers in sequential order, which capacity

   was in fact utilized by Defendant.

          37.     The Platform has the capacity to dial numbers from a list of numbers, which

   capacity was in fact utilized by Defendant.

          38.     The Platform has the capacity to dial numbers without human intervention, which

   capacity was in fact utilized by Defendant.

          39.     The Platform has the capacity to schedule the time and date for future transmission

   of text messages, which occurs without any human involvement.

          40.     To transmit the message at issue, the Platform automatically executed the following




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   steps:

                   a. The Platform retrieved each telephone number from a list of numbers in the

                      sequential order the numbers were listed;

                   b. The Platform then generated each number in the sequential order listed and

                      combined each number with the content of Defendant’s message to create “packets”

                      consisting of one telephone number and the message content;

                   c. Each packet was then transmitted in the sequential order listed to an SMS

                      aggregator, which acts an intermediary between the Platform, mobile carriers (e.g.

                      AT&T), and consumers.

                   d. Upon receipt of each packet, the SMS aggregator transmitted each packet –

                      automatically and with no human intervention – to the respective mobile carrier for

                      the telephone number, again in the sequential order listed by Defendant. Each

                      mobile carrier then sent the message to its customer’s mobile telephone.

            41.    The above execution these instructions occurred seamlessly, with no human

   intervention, and almost instantaneously. Indeed, the Platform is capable of transmitting thousands

   of text messages following the above steps in minutes, if not less.

            42.    Further, the Platform “throttles” the transmission of the text messages depending

   on feedback it receives from the mobile carrier networks. In other words, the platform controls

   how quickly messages are transmitted depending on network congestion. The platform performs

   this throttling function automatically and does not allow a human to control the function.

            43.    The following graphic summarizes the above steps and demonstrates that the

   dialing of the text message at issue was done by the Platform automatically and without any human

   intervention:




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           44.     Defendant’s unsolicited text message caused Plaintiff actual harm, including invasion

   of her privacy, aggravation, annoyance, intrusion on seclusion, trespass, and conversion. Defendant’s

   text message also inconvenienced Plaintiff and caused disruption to her daily life.

                                           CLASS ALLEGATIONS

           PROPOSED CLASS

           45.     Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23, on behalf of

   herself and all others similarly situated.

           46.     Plaintiff brings this case on behalf of a Class defined as follows:

           All persons within the United States who, within the four years prior to the filing
           of this Complaint, were sent a text message, from Defendant or anyone on
           Defendant’s behalf, to said person’s cellular telephone number, advertising
           Defendant’s services, without the recipients’ prior express written consent.

           47.     Defendant and its employees or agents are excluded from the Class. Plaintiff does not

   know the number of members in the Class but believes the Class members number in the several

   thousands, if not more.

              NUMEROSITY

           48.     Upon information and belief, Defendant has placed automated and/or prerecorded calls

   to cellular telephone numbers belonging to thousands of consumers throughout the United States

   without their prior express consent. The members of the Class, therefore, are believed to be so numerous

   that joinder of all members is impracticable.


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           49.      The exact number and identities of the Class members are unknown at this time and can

   only be ascertained through discovery. Identification of the Class members is a matter capable of

   ministerial determination from Defendant’s call records.

                 COMMON QUESTIONS OF LAW AND FACT

           50.      There are numerous questions of law and fact common to the Class which predominate

   over any questions affecting only individual members of the Class. Among the questions of law and

   fact common to the Class are:

           (a)      Whether Defendant made non-emergency calls to Plaintiff’s and Class members’
                    cellular telephones using an ATDS;

           (b)      Whether Defendant can meet its burden of showing that it obtained prior express written
                    consent to make such calls;

           (c)      Whether Defendant’s conduct was knowing and willful;

           (d)      Whether Defendant is liable for damages, and the amount of such damages; and

           (e)      Whether Defendant should be enjoined from such conduct in the future.


           51.      The common questions in this case are capable of having common answers. If Plaintiff’s

   claim that Defendant routinely transmits text messages to telephone numbers assigned to cellular

   telephone services is accurate, Plaintiff and the Class members will have identical claims capable of

   being efficiently adjudicated and administered in this case.

                 TYPICALITY

           52.      Plaintiff’s claims are typical of the claims of the Class members, as they are all based

   on the same factual and legal theories.

                 PROTECTING THE INTERESTS OF THE CLASS MEMBERS

           53.      Plaintiff is a representative who will fully and adequately assert and protect the interests

   of the Class and has retained competent counsel. Accordingly, Plaintiff is an adequate representative



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   and will fairly and adequately protect the interests of the Class.

                   PROCEEDING VIA CLASS ACTION IS SUPERIOR AND ADVISABLE

             54.     A class action is superior to all other available methods for the fair and efficient

   adjudication of this lawsuit, because individual litigation of the claims of all members of the Class is

   economically unfeasible and procedurally impracticable. While the aggregate damages sustained by the

   Class are in the millions of dollars, the individual damages incurred by each member of the Class

   resulting from Defendant’s wrongful conduct are too small to warrant the expense of individual

   lawsuits. The likelihood of individual Class members prosecuting their own separate claims is remote,

   and, even if every member of the Class could afford individual litigation, the court system would be

   unduly burdened by individual litigation of such cases.

             55.     The prosecution of separate actions by members of the Class would create a risk of

   establishing inconsistent rulings and/or incompatible standards of conduct for Defendant. For example,

   one court might enjoin Defendant from performing the challenged acts, whereas another may not.

   Additionally, individual actions may be dispositive of the interests of the Class, although certain class

   members are not parties to such actions.

                                                 COUNT I
                                Violations of the TCPA, 47 U.S.C. § 227(b)
                                  (On Behalf of Plaintiff and the Class)

             56.     Plaintiff re-alleges and incorporates the foregoing allegations as if fully set forth

   herein.

             57.     It is a violation of the TCPA to make “any call (other than a call made for

   emergency purposes or made with the prior express consent of the called party) using any

   automatic telephone dialing system … to any telephone number assigned to a … cellular telephone

   service ….” 47 U.S.C. § 227(b)(1)(A)(iii).




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           58.      Defendant – or third parties directed by Defendant – used equipment having the

   capacity to dial numbers without human intervention to make non-emergency telephone calls to

   the cellular telephones of Plaintiff and the other members of the Class defined below.

           59.      These calls were made without regard to whether or not Defendant had first

   obtained express permission from the called party to make such calls. In fact, Defendant did not

   have prior express consent to call the cell phones of Plaintiff and the other members of the putative

   Class when its calls were made.

           60.      Defendant has, therefore, violated § 227(b)(1)(A)(iii) of the TCPA by using an

   automatic telephone dialing system to make non-emergency telephone calls to the cell phones of

   Plaintiff and the other members of the putative Class without their prior express written consent.

           61.      Defendant knew that it did not have prior express consent to make these calls, and

   knew or should have known that it was using equipment that at constituted an automatic telephone

   dialing system. The violations were therefore willful or knowing.

           62.      As a result of Defendant’s conduct and pursuant to § 227(b)(3) of the TCPA,

   Plaintiff and the other members of the putative Class were harmed and are each entitled to a

   minimum of $500.00 in damages for each violation. Plaintiff and the class are also entitled to an

   injunction against future calls. Id.

           WHEREFORE, Plaintiff, Josie Williams, on behalf of herself and the other members of

   the Class, pray for the following relief:

                 (a) A declaration that Defendant’s practices described herein violate the Telephone
                     Consumer Protection Act, 47 U.S.C. § 227;

                 (b) An injunction prohibiting Defendant from using an automatic telephone dialing
                     system to text message telephone numbers assigned to cellular telephones without
                     the prior express permission of the called party;

                 (c) An award of actual and statutory damages; and



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                (d) Such further and other relief the Court deems reasonable and just.

                                            COUNT II
                  Knowing and/or Willful Violation of the TCPA, 47 U.S.C. § 227(b)
                              (On Behalf of Plaintiff and the Class)

          63.      Plaintiff re-allege and incorporate paragraphs 1-56 as if fully set forth herein.

          64.      At all times relevant, Defendant knew or should have known that its conduct as

   alleged herein violated the TCPA.

          65.      Defendant knew that it did not have prior express consent to make these calls and

   knew or should have known that its conduct was a violation of the TCPA.

          66.      Because Defendant knew or should have known that Plaintiff and Class Members

   had not given prior express consent to receive its autodialed calls, the Court should treble the

   amount of statutory damages available to Plaintiff and the other members of the putative Class

   pursuant to § 227(b)(3) of the TCPA.

          67.      As a result of Defendant’s violations, Plaintiff and the Class Members are entitled

   to an award of $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.

   § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

          WHEREFORE, Plaintiff, Josie Williams, on behalf of herself and the other members of

   the Class, pray for the following relief:

                (a) A declaration that Defendant’s practices described herein violate the Telephone
                    Consumer Protection Act, 47 U.S.C. § 227;

                (b) An injunction prohibiting Defendant from using an automatic telephone dialing
                    system to call and text message telephone numbers assigned to cellular telephones
                    without the prior express permission of the called party;

                (c) An award of actual and statutory damages; and

                (d) Such further and other relief the Court deems reasonable and just.




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                                             JURY DEMAND

           Plaintiff hereby demands a trial by jury on all issues so triable.



   Dated: August 9, 2019                   Respectfully submitted,

                                           By:      /s/ Jordan D. Utanski
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